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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                           )       CRIMINAL ACTION NO.
                                                    )
               Plaintiff,                           )       1:21-CR-00032-DLF
                                                    )
v.                                                  )
                                                    )
GUY WESLEY REFFITT,                                 )
                                                    )
               Defendant.                           )
                                                    )



     SENTENCING MEMORANDUM and MOTION FOR DOWNWARD
                       VARIANCE1




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       1
        Defendant addresses his objections to the presentence report in a separate pleading
attached hereto as Attachment A.
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PEYTON REFFITT (Daughter)                                                C

SARAH REFFITT (Daughter)                                                 D

NICOLE REFFITT (Wife)                                                    E

COLE MITCHELL (Sarah Reffitt’s Long Term Boyfriend)                      F

TIMOTHY SEWELL (Family Friend)                                           G

KEELAN BUBB (Family Friend)                                              H

CHRISTI CROSS (Family Friend)                                            I

LINDA REFFITT (Mother)                                                   J

DEANNA SEWELL (Family Friend)                                            K




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                          SENTENCING MEMORANDUM

       Defendant Guy Wesley Reffitt submits this Sentencing Memorandum in order

to assist the Court in imposing a sentence in this case that is, “sufficient but not

greater than necessary to comply with the purposes” of 18 U.S.C. § 3553.

       Many judges have been heard to remark that sentencing a defendant is one of

the most difficult, if not the most difficult, tasks they have.2 The defense understands

that, in connection with the January 6 cases, courts encounter difficulties that

exacerbate what is already one of the most difficult tasks.

       It is anticipated that the government’s Sentencing Memorandum will spill

much ink simply about January 6th in general and, given that the events of that day

stand as an unprecedented blight on this country’s history, the government’s

inclination to do so is somewhat understandable. Nevertheless, “[i]t has been uniform

and constant in the federal judicial tradition for the sentencing judge to consider every

convicted person as an individual and every case as a unique study in the human

failings....” Gall v. United States, 552 U.S. 38, 52 (2007).

       Still and on the other hand, because of the sheer number of January 6th


       2
         See, e.g., Jack B. Weinstein, Does Religion Have a Role in Criminal Sentencing?, 23
Touro L. Rev. 539, 539 (2007) (“Sentencing, that is to say punishment, is perhaps the most
difficult task of a trial court judge.”); Carter v. Illinois, 329 U.S. 173, 178(1946) (“It is a
commonplace that no more difficult task confronts judges than the determination of punishment
not fixed by statute.”).

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defendants that will be sentenced in this district and the fact that one of the factors set

forth in 18 U.S.C. § 3553 is the need to avoid sentencing disparities, it is also

recognized that courts in this district must look beyond the individual in an attempt

to achieve some degree of uniformity.

                        I. GUY REFFITT’S BACKGROUND

       Some common themes come through in both Mr. Reffitt’s letter to the Court

(attached hereto as Attachment B) and the various support letters that are attached

hereto as Attachments C-K. In particular, Undersigned Counsel commends to the

Court’s attention the letter from Mr. Reffitt’s daughter Peyton (one of the alleged

victims in Count 5). While that letter is lengthy, it does a very insightful job of

explaining her father and what led to his offenses on January 6.

       Guy Reffitt grew up a victim of physical abuse from his father. While Mr.

Reffitt’s mother describes her late husband (Guy’s father) as ‘pro physical

punishment,” in her letter to the Court,” Mr. Reffitt unpacks the meaning of that to

be “[b]elts, switches and occasionally smacks or fists.”3            As Mr. Reffitt further

explains, “I took it, until I didn’t.” Mr. Reffitt left home at 15 years of age and began

working at KFC as a dishwasher and moved in with his older sister. See PSR at ¶ 83.



       3
        As recounted in the PSR, Mr. Reffitt’s mother admitted her late husband was “physically
abusive to her and to [Guy].” See PSR at ¶ 85.

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      Mr. Reffitt’s wife, Nicole, explains, “Much of Guy’s personality comes from

the fact that he has been on his own since he was fifteen, and he has had only himself

to back himself up.” Indeed, she has noted that her husband’s “issue in his childhood

have caused him to be ‘very driven concerning his family....’” See PSR at ¶ 88.

      Indeed, because of his childhood, Mr. Reffitt’s adult life has centered around

providing for his family and one can clearly see that this became his identity.

Financially that produced a lot of highs and lows and Mr. Reffitt was often required

to spend large periods of time away from his family as a result of his work in the oil

industry. At one point, Mr. Reffitt’s employment allowed the family to move to

Malaysia where, as his daughter, Sarah explains: “My dad not only wanted to show

us the wonders of the world, but also to meet different people and experience others’

culture. It was one of his proudest achievements, having my siblings and I go to an

international school and travel and to be able to allow us to have that experience.”

      Unfortunately, the oil and gas industry collapsed and first he, and then his

family, returned to the United States. Because Guy Reffitt always viewed himself as

the family’s provider and protector, he tried to shield his children from the

tremendous financial stress the oil industry collapse caused the family. As Sarah

describes it: “For months we were living on very little money, however dad made sure

to make everything as happy as possible. Looking back on it now makes me beyond

                                          6
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sad knowing the amount of stress he had on him while smiling and giving us as much

as he could....My father has always worked very hard and was feeling that he couldn’t

provide us with what we needed and that it seemed to him that he could hardly

provide the basics.” And, as Peyton describes from a slightly different perspective:

      When we got back, during August of 2016, I recognized that my father
      was trying to show us that he was doing fine but I could tell he was
      deeply disappointed in himself and depressed. (I had noticed at this
      point he had started to take interest in the election and the Trump
      Administration, he had rarely ever taken interest in politics before then).

      Mr. Reffitt’s depression over his believing that he was unable to adequately

provide for his family manifested itself in thoughts of suicide. According to Sarah,

by the time COVID hit, “[h]e had thought of killing himself due to being ashamed

and in his words, ‘a failure.’”

      Throughout this period, Guy Reffitt’s family noticed that “[h]is mental health

was declining.”4 At one point, he tried to start a security company which resulted to

his introduction to the Three Percenters in Texas. Several of the letter writers, some

directly and some indirectly, describe a depressed man who believed he was unable

to adequately provide for his family (his life’s mission), and a man who felt cast aside

and marginalized. Peyton explains:

      He always feels like he needs to be doing something purposeful. When


      4
          Letter of Sarah Reffitt

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      he was out of work, he would either be looking into what he could do to
      build a security business to sustain our family and be a business owner
      or he was falling down the rabbit hole of political news and online
      banter. He can’t stand seeing injustice in the world or in the lives of his
      loved ones. These qualities he has about him I believe put him in a
      position where he has been subjected to wholeheartedly putting his faith
      into a leader with the attributes of President Trump. I could really see
      how my fathers [sic.] ego and personality fell to his knees when
      President Trump spoke, you could tell he listened to Trump's words as
      if he was really truly speaking to him....Constantly feeding polarizing
      racial thought. Trump didn’t speak to his supporters as individuals but
      more as a group of one, as though the group were [sic.] somehow more
      important than the individual. As if all individual citizens outside of this
      group were another group of one. This contradicts the aspects of our
      genetic makeup that every human being is unique, this basis that our
      whole idea of freedom is based upon. I wish my father had his guard up
      against these verbal booby traps into which he has been led, he should
      have analyzed this verbiage and made more rational decisions that day.

Sarah’s long-term boyfriend, Cole Mitchell, appears to truly hit the nail on the head

when he describes a marginalized, underemployed individual who went to

Washington, D.C. on January 6 in a quixotic hope of wanting to be part of

“something bigger.” Nevertheless, as Mr. Reffitt explains in his letter, “My regrets

for what has happened is [sic.] insurmountable.”

      There are also character traits of Guy Reffitt that are consistently described in

the support letters. First, that he is bombastic and hyperbolic but not dangerous. As

Sarah explains, “[a]lthough some of his language sounds alarming, if you knew him

you would know that he talks with a lot of hyperbole and exaggeration, but really



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what he means is much more of an understatement.” Second, that Guy Reffitt “never

hesitates to assist people whom he may not [even] know personally” and that “[h]e

finds joys in making others’ lives easier;” with Sarah describing her father as

“selfless.”5 In a passage which Undersigned Counsel personally believes speaks

volumes because Sarah did not likely realize its true significance when she was

composing it, she writes:

      He is considered a second dad by many of my friends. He always
      opened his home to me and my brother and sisters’ friends who may
      have stressed or troubled lives at their own home. I had a fair share of
      friends who were not comfortable in their own house, whether it was
      neglect, abuse or they didn’t’ have a safe space. My dad wanted them
      to know that they always have a safe space in his home and made sure
      they always felt welcome.

      As noted in the Presentence Report, Mr. Refitt is in Criminal History Category

I, and his criminal history is limited to a deferred adjudication on a misdemeanor for

unlawfully carrying a weapon almost two decades ago (at age 21) and a 2009

conviction for Driving While Intoxicated where he successfully completed probation.

See PSR at ¶¶ 70-72.

      Perhaps, Peyton Reffitt summarized it all best when she writes “[i]f I did not

know my father so personally I would have perceived this all so differently, from the




      5
          Letter of Sarah Reffitt

                                          9
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outside looking in.”6 Again, her letter speaks volumes regarding her personal

observations about her father that transcend her father’s actions on January 6, 2021.

    II. WHAT GUY REFFITT DID AND DID NOT DO ON JANUARY 6

       In imposing a sentence that is, “sufficient but not greater than necessary to

comply with the purposes” of 18 U.S.C. § 3553, it is imperative that a distinction be

made between what the government alleges that Guy Reffitt did and what he did not

do in relation to the events of January 6.

       A. What He Did Do

       Guy Reffitt and Rocky Hardie did drive from Texas to Washington, D.C. Guy

Reffitt brought with him an AR-15 and a .40 caliber handgun. See PSR at ¶ 20. He

and Mr. Hardie attended President Trump’s speech at the Ellipse. See Trial Tr. at

1138-39. As Mr. Hardie described it in his testimony, “[t]he President said hey, you

know, I’d like a million people to show up and I said, well, I think maybe I need to

be counted.” Id. at 1105.

       During the speech, President Trump urged those in attendance to march on the

       6
           To the PSR writer:

       [Peyton] stated the following, “He’s a great father and a good man. He’s always
       been very protective over the family. He’s really smart and like [sic,] to be in
       control in the house.” She noted that she was upset over [his] actions and felt that
       he “crossed a line” but noted that she was “not scared or frightened of him.

PSR at ¶ 90.

                                               10
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Capitol, where he knew the electoral votes were being counted, and Mr. Reffitt did

so.7 He possessed a handgun in a holster, wore a tactical helmet and bulletproof

armor, and had zip ties. See Trial Tr. at 1130, 1135; PSR at 22. At some point, after

arriving at the Capitol, he climbed the staircase on the west side and refused to retreat

when ordered to do so by the police and continued to do so after being hit by “less

than-lethal projectiles.” See PSR at ¶¶ 22-23. He also appears to have waved forward

other individuals in the crowd. See Gov’t Trial Ex. 205. Eventually, while others

pushed past the police and entered the Capitol building, Mr. Reffitt retreated down

the staircase which he initially climbed. Id. Mr. Reffitt’s entire time on the staircase

and the first landing on top of the staircase was approximately 44 minutes. Id.

       Prior to arriving at the Capitol, Mr. Reffitt made physical threats against House

Speaker Pelosi that, while certainly concerning, appear to be hyperbolic. See PSR at

¶21. Then, upon returning to Texas, he urged two of his children not to turn him in

to the FBI and told them “traitors get shot,” and he threatened to “put a bullet

through” his daughter’s phone. Id. at ¶ 25.

       B. What He Did Not Do

       First, unlike hundreds of the rioters, Mr. Reffitt never entered the Capitol.


       7
         ABC News, This is what Trump told supporters before many stormed Capitol Hill (Jan.
7, 2021) accessed at
https://abcnews.go.com/Politics/trump-told-supporters-stormed-capitol-hill/story?id=75110558

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      Second, unlike many rioters, Mr. Reffitt never assaulted police officers nor

anybody else.

      Third, Mr. Reffitt never removed his handgun from his holster.

      Fourth, Mr. Reffitt left the AK-47 he brought from Texas in his vehicle in

Georgetown and did not bring it to the Capitol.

      Fifth, while Mr. Reffitt’s paranoid statements to two of his children are not to

be condoned, he never gave any indication he would actually harm his children.

Indeed, his wife has stated that, while she was understandably “disturbed” by her

husband’s “extreme” statements to his children, she did not believe that he would

ever act on those statements. See Criminal Complaint [Doc. 1-1] at ¶ 26. Similarly,

one of his daughters told law enforcement that she did not believe her father to be a

true threat to anybody in the family. Id. at ¶ 30. Moreover, in her letter to this Court,

Peyton writes, “I never felt threatened, my father doesn’t threaten me. I rather get

annoyed about his dramatic way of speech that often uses outdated references and

recitations.” Peyton’s letter also describes the government’s decision not to call her

as a witness at trial when they learned “I wasn’t going to benefit their narrative.”

III. PRETRIAL DETENTION AND CONDITIONS OF THAT DETENTION

      Mr. Reffitt will, of course, get day-for-day credit for the approximately 19

months he will have spent in custody prior to his sentencing (14 of those months

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occurring prior to his convictions). Nevertheless, in fashioning a sentence in this

case, Undersigned Counsel urges the Court to consider whether day-for-day credit is

sufficient in light of the conditions of Mr. Reffitt’s confinement.

      At the onset, Mr. Reffitt understands that pretrial detainees “cannot expect the

amenities, conveniences and services of a good hotel.” Harris v. Fleming, 839 F.2d

1232, 1235 (7th Cir.1988). Still, there is pretrial confinement and there is pretrial

confinement.

      To begin with, CTF inmates were not allowed any visitors from the time Mr.

Reffitt arrived there (March 18, 2021) until February 14, 2022. Moreover, CTF

inmates were not given access to any video visitation during that time. In short, Mr.

Reffitt was isolated for over a year as a result of the jail conditions.

      Even more concerning, CTF inmates were confined to their cells for 23 hours

a day from the time Mr. Reffitt arrived until approximately June 13, 2021; 22 hours

from approximately June 13, 2021, to approximately October 2021; and again for 22

hours from December 22, 2021, to February 28, 2022.               In other words, for

approximately half of the time Mr. Reffitt has been at the CTF, he has been confined

to his cell for between 22-23 hours per day. The psychological strain that puts on an

individual cannot be seriously debated and is closely akin to the dangers of solitary

confinement.

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      As noted by former Justice Kennedy:

      The human toll wrought by extended terms of isolation long has been
      understood, and questioned, by writers and commentators.
      Eighteenth-century British prison reformer John Howard wrote “that
      criminals who had affected an air of boldness during their trial, and
      appeared quite unconcerned at the pronouncing sentence upon them,
      were struck with horror, and shed tears when brought to these darksome
      solitary abodes.” The State of the Prisons in England and Wales 152
      (1777). In literature, Charles Dickens recounted the toil of Dr. Manette,
      whose 18 years of isolation in One Hundred and Five, North Tower,
      caused him, even years after his release, to lapse in and out of a mindless
      state with almost no awareness or appreciation for time or his
      surroundings. A Tale of Two Cities (1859). And even Manette, while
      imprisoned, had a work bench and tools to make shoes, a type of
      diversion no doubt denied many of today's inmates.

      One hundred and twenty-five years ago, this Court recognized that, even
      for prisoners sentenced to death, solitary confinement bears “a further
      terror and peculiar mark of infamy.” In re Medley, 134 U.S. 160, 170,
      10 S.Ct. 384, 33 L.Ed. 835 (1890); see also id., at 168, 10 S.Ct. 384 (“A
      considerable number of the prisoners fell, after even a short [solitary]
      confinement, into a semi-fatuous condition ... and others became
      violently insane; others, still, committed suicide”). The past centuries'
      experience and consideration of this issue is discussed at length in texts
      such as The Oxford History of the Prison: The Practice of Punishment
      in Western Society (1995), a joint disciplinary work edited by law
      professor Norval Morris and professor of medicine and psychiatry David
      Rothman that discusses the deprivations attendant to solitary
      confinement. Id., at 184, 10 S.Ct. 384.

Davis v. Ayala, 567 U.S. 257, 287-88 (2015) (Kennedy, J., concurring) Moreover,

Justice Kennedy noted:

      [D]espite scholarly discussion and some commentary from other
      sources, the condition in which prisoners are kept simply has not been

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      a matter of sufficient public inquiry or interest. To be sure, cases on
      prison procedures and conditions do reach the courts. Sentencing judges,
      moreover, devote considerable time and thought to their task . There is
      no accepted mechanism, however, for them to take into account, when
      sentencing a defendant, whether the time in prison will or should be
      served in solitary.

Id. at 288 (citations omitted) (emphasis added)

      Here, unlike post-sentence solitary confinement, there is an “accepted

mechanism” for this Court to “take into account, when sentencing a defendant,”

conditions of confinement while fashioning a sentence that is “sufficient but not

greater than necessary to comply with the purposes” of 18 U.S.C. § 3553. Again, the

Bureau of Prisons will give Mr. Reffitt day-for-day credit for the time spent in pretrial

detention. Undersigned Counsel respectfully suggests, however, that the Court apply

a different ratio and reduce any sentence it would otherwise impose in this case by the

additional number of months produced by that ratio.

                                 IV. 18 U.S.C. § 3353

      A. Nature and Circumstances of the Offense [§ 3353(1)]

      Undersigned Counsel will not attempt to defend the indefensible. Again,

however, it is important to focus on Mr. Reffitt’s individual actions with regard to

what occurred on January 6, 2021.




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      B. Mr. Reffitt’s History and Characteristics [§ 3353(1)]

      Without fully repeating what has been said in Section I of this Sentencing

Memorandum, it again bears noting that, until the divide that was brought upon in

this nation, Mr. Reffitt was a productive and law-abiding citizen who spent most of

his days trying to provide for his family. These characteristics are reflected in the

supporting letters attached hereto. Moreover, as noted in the Presentence Report, Mr.

Reffitt has only a very minor criminal history: a deferred adjudication on a

misdemeanor for unlawfully carrying a weapon almost two decades ago at age 21 and

a conviction for Driving While Intoxicated more than a decade ago where he

successfully completed probation. See PSR at ¶¶ 70-72.

      Unfortunately, as explained in several of the support letters, Mr. Reffitt felt

marginalized and inadequate after the loss of his job in 2019 and believed he was

failing the family he always worked so hard to provide for. With more time on his

hands, he spent significant amounts of time on the computer and, to state the obvious,

the internet can be both a blessing and a curse. As one of the letter writers observed,

Mr. Reffitt wound up in Washington, D.C. on January 6 “want[ing] to be part of

something bigger” and with a very “romanticized” view of what might take place.

See Attachment F.

      As recounted in the PSR:

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      Mrs. Reffitt noted that the defendant was very “disenfranchised before
      Trump took office,” but soon became “enamored with Trump” and felt
      that the former president’s policies were “speaking to him.” She noted
      that the defendant was obsessed with watching the news during the
      pandemic and he and his family member often argued over politics in
      the home.

PSR at ¶ 8. Significantly, however, Mrs. Reffitt observes that her husband “seems

to have a ‘lot more clarity now.’” Id.

      In his own letter to the Court, Mr. Reffitt explains, that his regrets for his

actions on January 6 are “insurmountable” wishes he could “turn back the clock and

stay home.” At another point in the letter, Mr. Reffitt reflects that, although he did

not actually engage in physical violence on January 6, he was “truly ashamed” of his

actions at the Capitol.

      Suffice it to say, Mr. Reffitt has indicated to counsel that he is done with

politics. His only goal now is to put his family back together while recognizing that

as much as he spent the past two decades providing for them, he is the one who has

driven them apart.

      C. Seriousness of the Offense, Respect for the Law, Just
      Punishment, Deterrence and Protection of the Public [§§
      3353(2)(A)-(C) and ]

      Again, it is impossible not to recognize that Mr. Reffitt committed serious

offenses. Nevertheless, it should also be recognized that, up until that point, Mr.



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Reffitt was a productive member of our society and respected the law. Mr. Reffitt

seeks to show the Court that his actions on January 6 were an aberration and to show

the Court that, when he is released, he will faithfully comply with the law as well as

any conditions of Supervised Release.

      As a result of his actions, Mr. Reffitt has already served approximately 19

months confinement in very difficult conditions and will forever be a felon.

Likewise, after release from any incarceration, he will be under this Court’s

supervision. These consequences serve to act as both a specific and general

deterrence

      D. Need for Treatment [§ 3353(2)(D)]

      The Presentence Report notes that Mr. Reffitt has a documented mental health

diagnosis. See PSR at ¶ 103. Likewise, several of the support letters reference

untreated depression that resulted in suicidal ideations. Undersigned Counsel

sincerely believes that an extended prison sentence will exacerbate that condition and

is better addressed as a condition of Supervised Release.

      E. Avoiding Unnecessary Sentencing Disparities[§ 3353(7)]

      As noted above, Undersigned Counsel recognized that, in light of the sheer

number of January 6 defendants, it is likely important to the Court to attempt to

achieve some degree of uniformity in the various sentences imposed. As such,

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Undersigned Counsel has identified the ten cases in which defendants have been

sentenced to 24 months or more imprisonment and has reviewed the facts set forth

in the government sentencing memorandums filed in each of the ten cases.8

      (1) United States v. Fairlamb, No. 1:21-CR-00325-CKK 41 months
incarceration

       •Shoved and Punched an MPD officer.

       •Climbed the scaffolding.

       •Entered the Capitol carrying a stolen police baton.

      (2) United States v. Chansley, No. 1:21-CR-0003-RCL                          41 months
incarceration

       •Q-Anon Shaman and the very face of the events of January 6.

       •Climbed the scaffolding.

       •Entered the Capitol and roamed the second and third floors of the
       building.

       •Entered the Senate gallery and screamed obscenities.

       •Scaled the Senate dias “taking the seat that Vice President Mike Pence
       had occupied less than an hour before” and took pictures of himself on
       the dias.

       •Called other rioters up to the dias and lead them in an incantation
       including to be thankful for the “opportunity ‘to allow us to send a
       message to all the tyrants, the communists, and the globalists, that this


       8
       This analysis is based upon the Sentencing Chart filed in United States v. Suarez , No.
1:21-CR-00205-DLF [Doc. 53-1] on July 2, 2022.

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     is our nation, not theirs, that we will not allow American, the American
     way of the United States of America to go down.’”

     •Gave a 60 Minutes interview falsely claiming that he was let into the
     Capitol by law enforcement and was merely intending to bring divinity,
     to bring God back into the Senate.

      (3) United States v. Cleveland, No. 1:21:CR-00159-ABJ 28 months
incarceration

     •Did not arrive in Washington, D.C. until January 7, 2021 as a result of
     car trouble.

     •While in Washington, he texted that he was “thinking about heading
     over to Pelosi Cunt’s speech and putting a bullet in her noggin on live
     TV.”

     •While in Washington, he texted that he “may wander over to the
     Mayor’s office and put a 5.56 in her skull, FNG cunt.”

     •In his trailer, which he drove to Washington D.C., the FBI agents found
     a Glock 19, nine-millimeter handgun, and a model IWI Tavor X95 rifle,
     approximately 2,500 rounds of ammunition, and 10 large capacity
     ammunition feeding devices. Those rounds included:

           *Approximately 856 loose and boxed 9 mm cartridges;

           *Approximately 320 loose, green tipped, LC17 rifle
           cartridges;

           *Approximately 1001 loose, copper-color tipped, 5.56 mm
           rifle cartridges;

           *Approximately 94 loose 30-30 rifle cartridges;

           *Two 15-capacity 9 mm magazines                 containing
           approximately 29 total cartridges;

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           *Two 31-capacity 9 mm magazines                  containing
           approximately 62 total cartridges;

           *One 50-capacity 9 mm drum magazine containing
           approximately 53 total cartridges;

           *Five 5.56 mm rifle magazines containing a total of 118
           cartridges (110 copper-color tipped cartridges and 8 green
           tipped cartridges); and

           *One 9 mm expended cartridge case.

     (4) United States v. Palmer, 1:21-CR-0328-TSC 63 months incarceration

     •Was on the steps leading to the LWT tunnel and, having acquired a
     wooden plank, he threw the plank like a spear at police officers.

     •He picked up a fire extinguisher and sprayed police with its contents.
     Then, once it was empty, he threw it at police officers.

     •He then “cast around for additional items with which he could assault
     the police.” He took hold of a long piece of scaffolding wrapped in
     canvas and pushed it at the legs of the police.

     •He then picked up the fire extinguisher he previously used to assault
     police and again threw it at police.

     •Also, at some point, he picked up an orange traffic barrier and threw it
     towards the police.

      (5) United States v. Thompson, No. 1:21-CR-00461-RCL 46 months
incarceration

     •Joined rioters as they actively assaulted police.

     •Armed himself with a police baton and incited violence outside of the
     Capitol. Also stayed in the heart of the violent zone, watching hours of

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attacks against law enforcement. Indeed for nearly two hours he stood
“in the vicinity of some of the most violent conduct on January 6,
observing, commenting and occasionally chanting while windows were
smashed, and the police line was repeatedly attacked.”

•Provided rioters with riot shields to use against the police which had
previously been stolen from the police.

•Assisted in throwing a large audio speaker at police.

•Assaulted a police officer with a baton when the officer was trying to
assist a rioter needing medical attention.

(6) United States v. Languerand, No. 1:21-CR-00353-JDB 44 months

•Threw a piece of wood at police.

•Just a few minutes later, he and another rioter threw a heavy black
audio speaker at the police.

•A minute later, threw two sticks in rapid succession at officers.

•Three minutes later, threw another stick at officers.

•A few seconds later, threw a large orange traffic bollard which
ricocheted off the riot shield of an officer before colliding with multiple
officers inside the archway.

•A minute later, threw a pepper spray container followed by a bottle of
liquid.

•Approximately 30 seconds later, threw a piece of wood,

•Then threw another stick at the police.




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     (7) United States v. Wilson, No. 1:21-CR-00345-RCL 51 months
imprisonment

     •Physically engaged with officers by punching, shoving and kicking
     them, as well as attempting to steal their riot shields.

     •Picked up a several feet long white cylindrical object, believed to be a
     thin polyvinyl chloride (PVC) pipe, and indiscriminately struck at
     officers with it.

     •”[E]ngaged multiple officers with whatever means he had available.”

     (8) United States v. Coffman, No. 1:21-CR-00004-CKK 46 months
imprisonment

     •Drove to Washington on January 6 from Alabama in a pickup truck
     containing loaded firearms, including a 9mm handgun, a rifle, and a
     shotgun. Also, inside the pickup truck and in its covered bed were
     hundreds of rounds of ammunition, large-capacity ammunition feeding
     devices, a crossbow with bolts, machetes, camouflage smoke devices,
     a stun gun, cloth rags, lighters, a cooler containing eleven mason jars
     with holes punched in the lids, and other items. The eleven mason jars
     each contained a mixture of gasoline and Styrofoam. The mason jars and
     their contents, along with the lighters and cloth rags, made up the
     component parts of bottle-based improvised incendiary weapons (i.e.
     Molotov cocktails).

     •The Styrofoam in the Molotov cocktails was designed to have a napalm
     effect of adhering to the skin of its victims.

     •A month before January 6, he had traveled to Washington and
     attempted to drive to the residence of a United States Senator.

     (9) United States v. Creek, No. 1:21-CR-00645-DLF 27 months incarceration

     •“Violently pushed and hit” a police officer in the face.


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      •Then made a “beeline for a U.S. Capitol Police (USCP) officer who was
      attempting to protect himself behind a bike rack barrier and a police
      shield. He went around the barmier, gave [the Officer] a hard shove in
      the shoulders, and then kicked him, causing [the Officer] to fall
      backwards to the ground.”

      •Then picked up a thick strap with a heavy metal buckle and threw it at
      officers.

      (10) United States v. Miller, 1:21-CR-00075-RDM 33months imprisonment

      •While on restricted ground of the Capitol, draped in a Confederate flag,
      threw a full beer can at law enforcement.

      •Used a bike rack to scale the Capitol wall.

      •Threw batteries at officers.

      •Sprayed officers located in the Lower West Terrace tunnel with the
      contents of a fire extinguisher as other rioters assaulted officers with
      bats, flagpoles and riot shields. The contents of the fire extinguisher
      sprayed at least a dozen police officers.

                                  ********

      Admittedly an apples-to-apples comparison is often difficult to achieve.

Moreover, Mr. Reffitt acknowledges that the above defendants did not go to trial

(although not all were given an acceptance of responsibility reduction). Nevertheless,

the very fundamental question that must be answered is, should Mr. Reffitt who

      did not engage in any violence,

      did not throw any objects at police,



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      did not attack police with any weapons,

      did not spray police with hazardous chemicals contained in fire
      extinguishers,

      spent only a limited time in the restricted areas (i.e. the Capitol steps and
      landing), and

      did not enter the Capitol (let alone the Senate chambers)

be treated similarly to those that did? Frankly put, most if not all defendants who

received a sentence of greater than 24 months imprisonment are at a whole different

level than Mr. Reffitt and Undersigned Counsel submits that is it important for Mr.

Reffitt’s sentence to reflect these distinctions. Indeed, it would appear that, in

attempting to weigh culpability among the hundreds of January 6 defendants, those

defendants fall in four general but distinct categories with some defendants falling in

more than one category: (1) Those simply present in a restricted area; (2) Those

present in restricted areas with weapons; (3) Those who entered the Capitol building;

(4) Those who assaulted police officers.

                                 V. CONCLUSION

      Based upon the foregoing, Undersigned Counsel respectfully suggests that a

sentence of no more than 24 months imprisonment is, in fact, sufficient but not

greater than necessary to comply with the purposes” of 18 U.S.C. § 3553.




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                                    Respectfully submitted,


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                         CERTIFICATE OF SERVICE

      I, F. Clinton Broden, certify that on July 15, 2022, I caused a copy of the above

document to be served via electronic filing on all counsel of record:


                                                     /s/ F. Clinton Broden
                                                     F. Clinton Broden




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